IN THE UNITED STATES DISTRICT COURT
Case 2:05-Cr-20E`\?)R§EIIE WES“IE!MUI$T]H@'H OB/R`F/NNEBSBE 1 of 2 Page|D 12

 

 

 

WESTERN DIVISION
Fn.Eo ev f;{EZLUC.
UNITED STATES OF AMERICA,
05 AUG 3| PH 3= 39
Plaintiff,
US D"TPV`T G;`)UUJOOURT
v. cr. No 05-2027§15%) O§ , __ §§§§ M§S
BENJAM[N LOGAN,
Defendant.
ORDER ON ARRAIGNMENT
This cause came to be heard on OZf' 51'0!5 . The Assistant United States

 

Attorney appeared 011 behalf of the government, and the defendant appeared in person and with the
following counsel, who is retained/appointed:

NAME: J’A'w\£-ZS OJM\J FOKL LE'.SL\E wm
ADDRESS:

 

 

TELEPHONE:

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless for good cause
shown to a District Judge, such period is extended.

14 The defendant, Who is not in custody, may stand on his/her present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal

prisoner) (being held without bond pursuant to BRA of 1984),`1s remanded to the custody of the U. S.
Marshal

.:§/./

United States Magistrate Judge

Charges: motor vehicle theft
Assistant U.S. Attorney assigned to case: Murphy

The defendant's age is: g q .

T'his document entered on the docket sheet imompliance
with Rule 55 and/or 32(b) FRCrP on __ _ '

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CR-20274 was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

